     Case 4:23-cv-03416 Document 2-1 Filed on 09/12/23 in TXSD Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 WEATHERFORD U.S., LP and                       §
 WEATHERFORD TECHNOLOGY                         §
 HOLDINGS, LLC                                  §
                                                §        CIVIL ACTION NO. 23-cv-3416
        VS                                      §            JURY DEMANDED
                                                §
 IRON IQ, INC.                                  §

                      [PROPOSED] ORDER GRANTING
         PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER

       Pending before the Court are Plaintiffs Weatherford U.S., LP and Weatherford Technology

Holdings, LLC’s motion for temporary restraining order. The Court has considered and GRANTS

the motion. The Court ORDERS that:

       Defendant Iron IQ, Inc. is enjoined from obtaining, retaining, disclosing or using any of

Weatherford’s confidential information and trade secrets, in any tangible or electronic form, in:

(a) Weatherford’s CygNet® supervisory control and data acquisition (“SCADA”) platform,

(b) any derivative works of CygNet®, (c) any migration and conversion tools developed utilizing

CygNet®, and (d) any improvements to CygNet®; and

       Iron IQ, Inc. is required to return to Weatherford or destroy all copies of confidential

information and trade secrets, in any tangible or electronic form, in: (a) CygNet®, (b) any

derivative works of CygNet®, (c) any migration and conversion tools developed utilizing

CygNet®, and (d) any improvements to CygNet®.

       SIGNED at Houston, Texas, this ____ day of September 2023.




                                                     UNITED STATES DISTRICT JUDGE
